
In an action to recover damages for personal injuries suffered by two passengers in an automobile owned and operated by appellant Rubenstein, and for the wrongful death of another passenger in that automobile, when the automobile of appellant Rubenstein collided with a trolley car owned and operated by appellant City of New York, after said Rubenstein had .swerved into the path of the trolley car because of the alleged negligence of appellant Rosen, the jury’s verdict was in favor of plaintiffs against all three appellants. On appeal by the three defendants from the judgment entered on the verdict, the. judgment is unanimously affirmed, with costs. No opinion. Present — Nolan, P. J., Carswell, Johnston, Adel and Sneed, JJ.
